Case 1:14-ml-02570-RLY-TAB Document 19803-2 Filed 08/30/21 Page 1 of 1 PageID #:
                                  123153


                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION



  In Re: COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                              Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                                                MDL No. 2570


  This Document Relates to:

  Brenda I. Melendez 1:21-cv-06407-RLY-TAB



                                         [PROPOSED] ORDER
        Upon consideration of the Plaintiff’s Motion for Leave to Amend Short Form Complaint, it is

 found that good cause is shown. Therefore, it is so ordered that said motion is GRANTED. Plaintiff is

 ORDERED to file the Amended Short Form Complaint within seven (7) days of the date of this order.

 So ordered this ____ day of August, 2021.




                                                    ____________________________
                                                    Tim A. Baker, USMJ
